         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     CHARLOTTE DIVISION

                    CRIMINAL CASE NO. 3:97cr160


UNITED STATES OF AMERICA, )
                          )
                          )
             vs.          )                    ORDER
                          )
                          )
ANGELA JAMES.             )
                          )



     THIS MATTER is before the Court on the Defendant’s letter asking

that a motion for a sentence reduction pursuant to the Crack Cocaine

Guideline Amendment be filed on her behalf.

     On February 26, 2008, the Defendant filed a motion for a sentence

reduction based on the Crack Cocaine Guideline Amendment. [Doc. 80].

On August 27, 2008, an attorney was appointed to represent the

Defendant and on September 22, 2008, that attorney filed a second motion

to reduce her sentence. [Doc. 83]. On October 23, 2008, the Defendant’s

motions were granted and her sentence was reduced to 180 months

imprisonment. [Doc. 90].




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     It is possible that the Defendant did not receive a copy of this Order

although she remains incarcerated at the same facility. Out of an

abundance of caution, the Clerk of Court will be instructed to serve that

Order again.

     IT IS, THEREFORE, ORDERED that the Defendant’s letter asking

that a motion for a sentence reduction pursuant to the Crack Cocaine

Guideline Amendment be filed on her behalf shall be scanned into the

record and docketed as motion for a sentence reduction.

     IT IS FURTHER ORDERED that as so construed, the Defendant’s

motion is hereby DENIED.

     The Clerk of Court is requested to mail a copy of Document 90 along

with this Order to the Defendant.

                                      Signed: October 14, 2009




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